               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                   CIVIL CASE NO. 1:14-cv-00086-MR
            [CRIMINAL CASE NO. 1:07-cr-00033-MR-DLH-3]


JEANNIE LARGENT COSBY,    )
                          )
             Petitioner,  )
                          )                MEMORANDUM OF
    vs.                   )               DECISION AND ORDER
                          )
UNITED STATES OF AMERICA, )
                          )
             Respondent.  )
                          )

       THIS MATTER is before the Court on the Petitioner’s pro se Motion

to Vacate, Set Aside or Correct Sentence, filed pursuant to 28 U.S.C. §

2255 [Doc. 1].     For the reasons that follow, Petitioner’s Section 2255

motion will be dismissed.

I.     BACKGROUND

       On April 3, 2007, Petitioner and others were indicted by the grand

jury in this district on one count of conspiracy to distribute 50 grams or

more of cocaine base, in violation of 21 U.S.C. §§ 846 and 841(a)(1).

[Case No. 1:07-cr-00033, Doc. 1: Indictment].      The Government filed a

Notice of intent to seek enhanced penalties, pursuant to 21 U.S.C. § 851,




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based on eight of the Petitioner’s prior North Carolina felony drug

convictions. [Id., Doc. 95: Section 851 Notice].

     On June 13, 2007, Petitioner appeared before the Magistrate Judge

with counsel for her Rule 11 hearing. Petitioner pleaded guilty pursuant to

a written plea agreement, admitting therein that she was responsible for at

least 50 grams, but less than 150 grams of cocaine base. [Id., Doc. 103:

Plea Agreement ¶ 6]. The plea agreement informed Petitioner that she

would be subject to a mandatory term of life imprisonment, if two or more of

the convictions listed in the Government’s Section 851 Notice were valid,

and further notified her of the possibility that she might be sentenced under

the Career Offender provisions of the Guidelines.          [Id., Doc. 103: Plea

Agreement ¶¶ 3, 6(d)]. The terms of the plea agreement also stated that

the Government, in its sole discretion, could file a motion for a downward

departure pursuant to U.S.S.G. § 5K1.1 and 18 U.S.C. § 3553(e), if the

Government determined that Petitioner had provided substantial assistance

in the investigation of others. [Id., ¶ 23]. The Magistrate Judge found the

Petitioner’s plea to be knowing and voluntary and accepted the plea. [Id.,

Doc. 105: Acceptance and Entry of Guilty Plea].

     Following Petitioner’s guilty plea hearing, the Probation Office

prepared a presentence investigation report (PSR) in advance of


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Petitioner’s sentencing hearing. Using the 2006 version of the Guidelines

Manual, the Probation Office calculated Petitioner’s Base Offense Level to

be level 32, pursuant to § 2D1.1, based upon the stipulated drug amounts

in the plea agreement.       [Id., Doc. 488, PSR ¶ 19].          Petitioner’s Base

Offense Level, however, was increased to level 37, pursuant to § 4B1.1, as

Petitioner met the qualifications for Career Offender status. [Id., ¶ 25].

After a three-level reduction for acceptance of responsibility pursuant to §

3E1.1, Petitioner’s Total Offense Level became level 34. [Id., ¶¶ 26, 27].

      The PSR detailed Petitioner’s extensive criminal history, the effect of

which resulted in the attribution of 56 Criminal History Points placing

Petitioner in Category VI.1 [Id., ¶ 73]. A Total Offense Level of 34 together

with a Criminal History Category VI produces a Guideline range calling for

imprisonment between 262 months and 327 months. Because of her prior

convictions reflected in the § 851 Notice, however, Petitioner, faced a

mandatory statutory term of life imprisonment, which thus became her

Guideline sentence pursuant to § 5G1.1(b). [Id. at ¶¶ 111-112].

      Prior to Petitioner’s sentencing hearing, the Government filed a

motion for downward departure pursuant to U.S.S.G. § 5K1.1 and 18

1
 Regardless of the number of Criminal History Points she amassed, Petitioner would be
placed in Category VI due to her Career Offender status. See § 4B1.1(b) (“A career
offender’s criminal history category in every case under this subsection shall be
Category VI.”).
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U.S.C. § 3553(e), stating that Petitioner had provided substantial

assistance to the Government in the investigation and prosecution of

others. [Id., Doc. 176]. At Petitioner’s sentencing hearing, the Court found

that the Guidelines were properly calculated and that Petitioner qualified as

a Career Offender.        Next, the Court concluded that the Government’s

motion for departure should be granted. The Court sentenced Petitioner a

term of 168 months’ imprisonment, the low end of the newly calculated

range of 168 to 210 months that was based on a 4-level downward

departure.2 [Id., Doc. 185: Judgment in a Criminal Case]. Petitioner did

not appeal.

II.     STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions

to vacate along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record and applicable authority in this

matter, and concludes that this matter can be resolved without an

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 Based on her Career Offender Status, Petitioner was determined to have a Total
Offense Level of 34 and Criminal History Category of VI. The Government’s motion
pursuant to Section 5K1.1 asks that the Court depart downward and sentence based on
an equivalent Total Offense Level of 30 rather than 34. [Doc. 176]. In this respect the
Government’s motion fully ignores the Section 851 Notice and its attendant mandatory
minimum. The departure would be seen as much greater than four levels if considered
a departure from the mandatory minimum.
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evidentiary hearing. Raines v. United States, 423 F.2d 526, 529 (4th Cir.

1970).

III.     DISCUSSION

         The gist of Petitioner’s argument is that she is entitled to relief

because four of her past North Carolina convictions, used to establish her

Career Offender status and to support the Government’s Section 851

Notice, are insufficient to support those enhancements as a result of the

Fourth Circuit’s en banc decision in United States v. Simmons, 649 F.3d

237 (4th Cir. 2011). In Simmons, the Court of Appeals reexamined when a

conviction under North Carolina’s Structured Sentencing Act constitutes a

felony to support a Career Offender designation.3                   Overruling prior

precedent, the Court determined that a North Carolina conviction is not a

felony (i.e. “a crime punishable by imprisonment for a term exceeding one

year”) unless that specific defendant was exposed to a potential for being

incarcerated for a term of more than one year. Petitioner challenges her

four previous state drug convictions identified in paragraphs 55 through 58

of the PSR for which she received sentences of 8 to 10 months

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  What constitutes a conviction of a crime punishable by imprisonment for a term
exceeding one year (i.e. a “felony”) is determined in accordance with the law of the
jurisdiction where the proceedings were held. 18 U.S.C. § 921(a)(20). See also,
U.S.S.G. § 4B1.2 comment. n.1 (2006) (a prior felony conviction is a prior adult federal
or state conviction that is punishable by more than one year in prison regardless of the
actual sentence imposed or how the offense is designated by the state).


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imprisonment. [1:14-cv-00086, Doc. 1 at 3]. Petitioner asserts that her

sentence in these four cases could not have exceeded twelve months, and

therefore they were incorrectly counted as felonies for the purpose of

determining her sentence, and thus her sentence was imposed in violation

of law and she is entitled to relief. Petitioner, however, is entitled to no

relief because her petition is untimely and her argument is without merit.

     Petitioner’s judgment of conviction was filed on November 7, 2007.

This judgment became final ten days later when Petitioner filed no direct

appeal. Petitioner had one year from the date on which her judgment of

conviction became final to file her § 2255 motion. 28 U.S.C. § 2255(f)(1).

Her petition is not saved from that limitation just because if entails the

application of Simmons to a determination of her Career Offender status.

Whiteside v. United States, --- F.3d ----, No. 13-7152 (4th Cir. 2014) (en

banc). Petitioner did not file her § 2255 motion until April 2014, some six

and a half years after her criminal judgment became final. Therefore, her

Petition is untimely and this action must be dismissed.

     Petitioner’s argument also fails on the merits. The type and number

of Petitioner’s past felony convictions both qualified her as a Career

Offender under the Guidelines and subjected her to a mandatory life

sentence under Title 21 of the United States Code. When the Government


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filed its downward departure motion, 18 U.S.C. § 3553(e) conferred upon

the Court the authority to exercise its discretion to reduce the Petitioner’s

statutory minimum sentence consistent with U.S.S.G. § 5K1.1 and the

Government’s recommendation that was based on the nature and quality of

the Petitioner’s assistance. See United States v. Pillow, 191 F.3d 403, 407

(4th Cir. 1999), cert. denied, 528 U.S. 1177 (2000) (section 3553(e) allows

for a departure from, not the removal of, a statutorily required minimum

sentence). When the Court granted the Government’s departure motion,

the Court reduced Petitioner’s mandatory minimum sentence of life down to

168 months’ imprisonment. The Court’s 168 month sentence was also a

sentence at the low end of a Guideline range 4 levels below Petitioner’s

otherwise applicable Career Offender range. Consequently, it is necessary

for the Court to evaluate what effect, if any, the alleged infirm felony

convictions had upon Petitioner being a Career Offender as well as a

person mandated to serve a life term of imprisonment according to statute.

The Court will address the requisite parts of these two enhancements in

turn beginning first with the Guidelines’ provisions.

      As noted above, the Court found that Petitioner qualified as a Career

Offender. This finding was based on numerous convictions identified in the

PSR separate and apart from the four convictions Petitioner asserts are no


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longer considered felonies under Simmons.               [1:07-cr-00033, Doc. 488:

PSR ¶ 25]. In order to qualify as a Career Offender under the Guidelines, a

defendant must have been at least 18 years old at the time of her instant

federal offense; the instant offense must be either a crime of violence4 or a

controlled substance offense5; and the defendant must have two or more

prior convictions for either a crime of violence or a controlled substance

offense. U.S.S.G. § 4B1.1(a). Even if Petitioner’s convictions identified in

PSR paragraphs 55 through 58 could not have served as predicate

felonies, Petitioner was still properly determined to be a Career Offender.

At the time of her sentencing in this matter, Petitioner stood convicted of a

1993 assault with a deadly weapon offense, for which she received a 2-

year term of active imprisonment, 6 and she stood convicted of three 2000


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  A crime of violence is defined in § 4B1.2(a) as any offense under federal or state law
that is punishable by more than one year in prison and has as an element the use or
attempted use of force.
5
  A controlled substance offense is defined in § 4B1.2(b) as any offense under federal
or state law that involves the sale of a controlled substance and is punishable by more
than one year in prison.
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  As explained in the commentary to the Guidelines, a prior felony conviction is a prior
adult federal or state conviction that is punishable by more than one year in prison
regardless of how the offense is designated by the state. In other words, the
designation of her assault conviction as a North Carolina “misdemeanor” has no impact
on whether the conviction qualifies as prior felony crime of violence under the
Guidelines because she was sentenced to two years imprisonment and assault with a
deadly weapon undoubtedly involves “the use, attempted use, or threatened use of
physical force against the person of another.” U.S.S.G. § 4B1.2 comment. n.1 (2006).


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felony sale of cocaine offenses, for which she received an active term of 11

to 14 months’ imprisonment on each. [Id., PSR ¶¶ 45, 62]. Any two of

these prior convictions were sufficient to find Petitioner to be a Career

Offender. Accordingly, the Court concludes that Petitioner was properly

determined to be a Career Offender notwithstanding the four other

convictions about which Petitioner complains. For this reason Simmons

has no impact on the calculation of the Petitioner’s guideline range, and her

argument based on Simmons must fail.

      Petitioner’s argument fares no better as it pertains to an analysis of

the predicates necessary to support the Government’s § 851 Notice.

Federal law broadly defines a “felony drug offense” to be an offense that is

punishable by imprisonment for more than one year under any law of the

United States or of a state or foreign county that prohibits or restricts

conduct relating to narcotic drugs, marihuana, anabolic steroids, or

depressant or stimulant substances.       21 U.S.C. § 802(44).       Each of

Petitioner’s three 2000 felony sale of cocaine offenses, for which she

received an active term of 11 to 14 months’ imprisonment, would clearly fall

within this definition.   [Id., PSR ¶ 62]. Because the Government was

required to list only two “felony drug offenses” in its § 851 Notice to bring

into effect a statutory mandatory life sentence, 21 U.S.C. § 841(b)(1)(A),


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and the Government listed two of Petitioner’s three 2000 offenses (in

addition to the others Petitioner contends are infirm) [1:07-cr-00033, Doc.

95], Petitioner’s sentence was properly enhanced under the statute.

       Based on the foregoing, the Court finds that Petitioner was properly

sentenced and concludes her § 2255 motion should be dismissed.7

       Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases,

the Court declines to issue a certificate of appealability as Petitioner has

not made a substantial showing of a denial of a constitutional right. 28

U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003)

(holding that in order to satisfy § 2253(c), a petitioner must demonstrate

that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong); Slack v. McDaniel, 529 U.S. 473,

484 (2000) (holding that when relief is denied on procedural grounds, a

petitioner must establish both that the correctness of the dispositive

procedural ruling is debatable, and that the petition states a debatably valid

claim of the denial of a constitutional right).

                                      ORDER




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 Petitioner also has pending before this Court a motion to reduce her sentence
pursuant to 18 USC 3582. [1:07cr033 Doc. 517]. This order in no way disposes of that
motion.
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                       IT IS, THEREFORE, ORDERED that Petitioner’s Section 2255

              Motion [Doc. 1] is hereby DISMISSED.

                       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

              Governing Section 2255 Cases, the Court declines to issue a certificate of

              appealability.

                       IT IS SO ORDERED.

Signed: February 19, 2015




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